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 9
                          UNITED STATES DISTRICT COURT
10
                        SOUTHERN DISTRICT OF CALIFORNIA
11
                                                   No. 17-CR-0623-JLS
12    UNITED STATES OF AMERICA,
                                                   MOTION TO DISMISS WITH
13                 v.                              PREJUDICE
14    BRUCE LOVELESS,
15                       Defendant.
16
17         Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United
18 States of America seeks leave of the Court to dismiss with prejudice all charges in the
19 Indictment against defendant Bruce Loveless.
20 SO MOVED.
21 DATED: September 14, 2022                           Respectfully submitted,
22
23                                                     RANDY S. GROSSMAN
                                                       United States Attorney
24
25                                                     /s/ David Chu
                                                       /s/ Valerie H. Chu
26                                                     /s/ Mark W. Pletcher
27                                                     /s/ Michelle Wasserman
                                                       Assistant United States Attorneys
28
